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                        EXHIBIT B
          DECLARATION OF HUNTER W. SIMS III
    Case 3:17-cv-07190-JCS Document 161-3 Filed 06/04/21 Page 2 of 21
                      DEPOSITION OF POLLY CHOW - VIDEOCONFERENCE



                      IN THE UNITED STATES DISTRICT COURT
            IN AND FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                              --o0o--
   JUDY O'NEIL, individually   )
   and as successor-in-interest)
   to Decedent KEITA O'NEIL,   )
                               )
                    Plaintiff, )
                               )
             vs.               )CASE NO.: 3:17-cv-07190-JCS
                               )
   CITY AND COUNTY OF SAN      )
   FRANCISCO, a municipal      )
   corporation, et al.         )
                               )
                   Defendants. )
   ____________________________)   CERTIFIED COPY



                                       VIDEOCONFERENCE

                             DEPOSITION OF POLLY CHOW

                              MONDAY, DECEMBER 21, 2020

                                11:00 a.m. - 12:23 p.m.




     REPORTED BY:            Liliana Rodriguez, CSR NO. 13783
                                                                                                  1

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1                                       APPEARANCES OF COUNSEL
2
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14
15
         Also Present:
16
                  Carolina Galvan
17                Calvin Chow
18
19                                                    --o0o--
20
21
22
23
24
25
                                                                                                       3

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 1                        Zoom videoconference deposition taken pursuant

 2                 to Notice and on Monday, December 21, 2020,

 3                 commencing at the hour of 11:00 a.m., thereof, before

 4                 me, LILIANA, RODRIGUEZ, CSR No. 13783, a Certified

 5                 Shorthand Reporter and Deposition Officer of the State

 6                 of California, there personally appeared:

 7                                                POLLY CHOW,

 8                 called as a witness by the Plaintiff, who having been

 9                 duly sworn by me, to tell the truth, the whole truth and

10                 nothing but the truth, testified as hereinafter set

11                 forth:

12
                                                        --o0o--
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1                Q.    M & W Market?
2                A.    I don't remember.              But it starts with an
3           M-something.           It's two characters.
4                Q.    On that day you were there exchanging or --
5           strike that.
6                      You went to the market in order to take care of
7           some of the lottery business; is that right?
8                A.    Yes.
9                Q.    What type of -- what is your job with -- your job
10          title with the lottery?
11               A.    My job title is district sales representative.
12               Q.    And so what type of things do you do as a
13          district sales representative?
14               A.    I carry the mission.                Whatever the head office
15          commands us to do.              Basically, we take care of the sale,
16          marketing and taking care of the client -- the retailer.
17          Basically anything related to the sale.
18               Q.    Okay.       And does that mean that you also go out to
19          stores and work with the businesses who are selling
20          lottery products?
21               A.    I only work with the stores in my route.
22               Q.    So you have certain stores that are assigned to
23          you to work with?
24               A.    Yes.
25               Q.    And M & W was one of those stores?

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1                A.    Right.
2                Q.    And so on the day that your van was stolen, were
3           you there to do some lottery work at that store?
4                A.    Yes.      I was working, yeah, my regular visiting
5           schedule.
6                Q.    So did you have a set schedule that you would go
7           to that store?            For example, you go to that store twice
8           a week or once a month, or was there a set schedule that
9           you would go to that store?
10               A.    It's a schedule that works with my route, my
11          schedule -- with my route.                   My schedule, yes.
12               Q.    So would you go to the store like every two weeks
13          or every month?            How often would you go to the store?
14               A.    Basically we schedule twice a month.
15               Q.    Twice a month.
16               A.    And just sometimes when they have some need or
17          request, then I will, you know, visit the retailer.
18               Q.    And when you would visit them in your route twice
19          a month, was it always the same day of the week?
20               A.    No.
21               Q.    So you would visit them twice a month but it
22          might be at a different day of the week; is that right?
23               A.    Yes.
24               Q.    And had you visited that store prior to the day
25          that your van was stolen?

                                                                                                     13

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1           the owner of the store actually went into his safe and
2           gave you some things out of his safe; is that right?
3                 A.   I understand that the retailer have orders,
4           scratch game inventory stored in the safe.                              So when I go
5           there to do my work, they took the item out and give it
6           to me to check the inventory.
7                 Q.   And there weren't any problems at that store
8           during that visit, right?
9                 A.   No problem.
10                Q.   Okay.       And when you left the first store on your
11          route that day, did you go directly to the second store,
12          which was M & W Market?
13                A.   Yes.      After I finished the first stop I go direct
14          to the second store -- second location.
15                Q.   And when you went to the second store location,
16          did you -- where do you park your van?                           Did you park it
17          in a parking lot or on the street?
18                A.   That day I parked my van in front of the store.
19                Q.   Okay.       And when you say, "In front of the store,"
20          is that a parking lot or a street?
21                A.   It's on a street.
22                Q.   I'm going to try to show you here a Google
23          overhead map.
24                     (Exhibit 1 marked.)
25          ///

                                                                                                     15

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1           BY MR. POINTER:
2                Q.    Can you see on the screen here what is a Google
3           overhead?         It's from the sky looking down onto the
4           street.       Do you see this on your screen?
5                A.    Yeah.       I see the street.
6                Q.    Okay.       And I'll make the representation that this
7           is M & W Market where I'm circling with the cursor.                                   Do
8           you see that?
9                A.    Yes.
10               Q.    Does that look like the store to you?
11               A.    Yes.
12               Q.    And you mentioned that you parked your van in
13          front of the store.               Would that be on what is labeled
14          here as 23rd Street, or would it be on this street which
15          is Arkansas?
16               A.    You see that Google map there is a white spot.
17          That is the position where I parked my car in front of
18          the store, M & W.
19               Q.    Okay.       So if I understand you correctly, you
20          parked your car on 23rd Street in front of M & W; is
21          that right?
22               A.    Right.       Right.
23               Q.    And you're saying it's approximately where
24          this -- this actually looks like a white van -- a white
25          van is in front of the store; is that right?

                                                                                                     16

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1                A.    Yes.      Yes.
2                Q.    And so when you went -- strike that.
3                      When you parked your van, what did you do?                              Did
4           you go directly into the store or did you do something
5           else?
6                A.    After I parked my van I go directly inside the
7           store.
8                Q.    Okay.       Did you take any items from your van with
9           you into the store?
10               A.    I go inside and get my work done.                        I sign into
11          the store, and if they have any old inventory, yes, I
12          take out items from this store.
13               Q.    And when you're on your way into the store from
14          your van, did you have any problems with anyone?
15               A.    No problem.
16               Q.    When you were in the store doing your business
17          and your work did you have any problems?
18               A.    No problem.
19               Q.    Now, my understanding is after you completed your
20          work in the store, you then went back out to your van;
21          is that right?
22               A.    Right.       After I finished.
23               Q.    And so after you finished, were you going to
24          another store?
25               A.    Planning to on my -- on that day I planned to go

                                                                                                     17

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1           back to my office.
2                Q.    Okay.       So you were going to go back to your
3           office after finishing your work at this store; is that
4           right?
5                A.    Yes.      Yes.
6                Q.    Okay.       So when you came out of the store going
7           back to your van, can you tell us what happened?
8                A.    What's that again?
9                Q.    When you came out the store, can you tell us what
10          happened next?
11               A.    I came out from the store and I picked up some
12          old inventory, old inventory that expired or no good.
13          Then I go back to my van, I opened the side door on the
14          back.      Then I dropped down all my old inventory before I
15          go back to my driver's side.                     While I'm doing the work
16          somebody comes behind me and is asking for money and
17          searched my body.              I told him that I don't have any
18          money.       I just keep telling him that I have no money.
19          And I raise my two hands.                   I showed him that I have no
20          money.       At the same time I have my key in my hand and I
21          put it on the counter of the van.                        I just kept telling
22          him I have no money.                So he looked inside my van.                    He
23          searched my body.              He took the key and he go out -- go
24          out and tried to -- tried to --
25                     MR. SIMS:         Why don't we take a break.

                                                                                                     18

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1                      MR. POINTER:           We'll take a break for a minute,
2           Ms. Chow.
3                      (Off the record.)
4           BY MR. POINTER:
5                Q.    Ms. Chow, I'm fine to take it very slow.                             Any
6           time you need a break just let us know.
7                A.    Okay.
8                Q.    I understand this is a difficult thing to talk
9           about, so my sincerest apologies for bringing up stuff
10          that I'm sure you don't want to think about.
11                     If I heard you correctly, you're coming out the
12          store and you go to your van, correct?
13               A.    Yes.
14               Q.    And you open the sliding door on the passenger
15          side; is that right?
16               A.    Yes.
17               Q.    And you're putting the inventory, the old lottery
18          tickets and things into your van, right?
19               A.    Right.
20               Q.    And so your back is to the sidewalk, if you will?
21               A.    Yes.
22               Q.    And it's while you're doing this, putting stuff
23          into your van getting ready to essentially go back to
24          your office, that someone comes up from behind you,
25          right?

                                                                                                     19

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 1               A.    Yes.
 2               Q.    And they put their arms around you; is that
 3          right?
 4               A.    Yes.
 5               Q.    And when they're doing this, they're asking you
 6          for money, right?
 7               A.    They say, "Where is the money?"
 8               Q.    And they said that a few times, right?
 9               A.    Yes.
10               Q.    And you were telling them, "I don't have any
11          money"?
12               A.    I told him, "I don't have any money."
13               Q.    Okay.       And this person then started patting your
14          body down to see if you had any or -- strike that.
15                     Did that person start patting your body or
16          searching your pockets?
17               A.    Yes.
18               Q.    And so they were -- did they actually put their
19          hands into your pockets?
20               A.    That I don't remember.
21               Q.    But you did feel them kind of feeling on your
22          body as if they were looking for something, right?
23               A.    Yes.
24               Q.    And I believe you said that you told them you
25          don't have any money and then you raised your hands --
                                                                                                     20

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1                A.    Right.
2                Q.    -- out of your pockets to show them, "I don't
3           have any money," right?
4                A.    Yeah.       I raised my hands and showed that I had no
5           money.       If he wants to search my pocket, he can search
6           my pocket.         I just want to show him I had no money.
7                Q.    And that's a good question.                     What were you
8           wearing?
9                A.    I wear a jacket, a blue medium length black
10          jacket.
11               Q.    So you had a jacket on.                  And so the person, did
12          the person feel like they were touching on your jacket
13          to see if you had any money in it?
14               A.    Yes.      I feel them searching, touching my body and
15          searching my pockets, you know, on my side, yeah.
16               Q.    Okay.       And so I believe you said you raised your
17          hands up to show them you didn't have any money.
18               A.    Right.
19               Q.    Did you have anything in your hands when you
20          raised your hands up?
21               A.    Yes.      I had a key.
22               Q.    And the key, my understanding, is attached to a
23          lanyard or some type of string or something?
24               A.    Yeah.       The key attached to the chain, yeah, which
25          I hang on my neck.              Because I need to open the car so I

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1                A.    Inside the van, yeah.
2                Q.    And when you put the key on the counter inside
3           the van, is that when the person took the key?
4                A.    Yes.
5                Q.    Did that person take anything else from you at
6           that time?         Meaning, did they go into your pockets and
7           take any other items from you?
8                A.    No.     Nothing from my pocket.                  He took the key and
9           he goes around and goes inside my van trying to start
10          the car.
11               Q.    If I understand you correctly, the man grabbed
12          the key and then went over to the driver's side of your
13          van; is that right?
14               A.    Yes.
15               Q.    Between him grabbing the key and him going to the
16          driver's side of the van, did the cashier or the person
17          who was working at the market come outside?
18               A.    No.     I don't know.            I don't know if any person's
19          behind me, and I don't know any person, you know, like
20          come out and help me at all.
21               Q.    Okay.       So the gentleman -- do you recall that a
22          gentleman who worked at the market, you told him to the
23          call the police?
24               A.    Yes.      I asked him to help me out and call the
25          police because my phone had broken.

                                                                                                     23

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1                Q.    Was that -- in terms of when this person came out
2           and you told him to call the police, was that before the
3           gentleman, the person, took the key and went to the --
4                A.    No.     No.     No.      No.     This happened after he took
5           my key, and then he tried to start the car and he
6           pressed the wrong button.                   The car was making alarm, you
7           know, the car alarm on.                   Then I go around and I want to
8           ask him to get the key back.
9                      In the mean time I had my phone, I want to call
10          911 and he comes out from the van and he took my phone
11          and he threw it on the floor and he pushed me on the
12          floor.       He talked to the people -- at that time I
13          noticed there was another van in the middle of the
14          street, and he told that -- asked the van, he said, "She
15          has no money.            What should I do?"              And the guy from the
16          van tells him to take the key and run.                           So I go back
17          there and I try to ask him to get the key back, and he
18          pushed me and I'm able to catch the chain on the van --
19          the key.        And then I -- anyway I finally -- the chain
20          was broken.          He got the key and jumped inside the van
21          and took the car and went -- and left.
22               Q.    Okay.       Thank you.         So I'm going to go back over
23          that again just like we did the first part where I'm
24          going to go through step by step.
25                     So when the gentleman took the key from off the

                                                                                                     24

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1           counter in the van, he then went to the driver's side of
2           the van, right?
3                A.    Yes.
4                Q.    Okay.       When the man was holding you when he was
5           still standing behind you, did he punch or strike you in
6           any way?
7                A.    No.     No.
8                Q.    Was he cursing at you at that time?
9                A.    No.
10               Q.    And so when he took the key and went over to the
11          driver's side of the van, did he actually get into the
12          van at that time?
13               A.    Yes.
14               Q.    Okay.       Did he sit in the driver's seat of the van
15          at that time?
16               A.    Yes.
17               Q.    And if I heard you correctly, he was trying to
18          get the van to start but instead it sounded like he
19          caused the alarm to go off?
20               A.    Yes.
21               Q.    And it's at this point in time where you then go
22          over to the driver's side of the van too, right?
23               A.    Right.        Right.
24               Q.    And your intent is to get your keys back, right?
25               A.    I asked him to get the key back.                        He came out.

                                                                                                     25

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1                Q.    Okay.       So you asked him for the key back, and
2           then he got out of the van and was standing next to it
3           near you?
4                A.    He stands close to me.
5                Q.    So he got out of the van and stood close to you,
6           right?
7                A.    Yes.
8                Q.    Okay.       And you -- I think you said you grabbed
9           the chain of the key and were pulling it?
10               A.    Before I tried to call 911, and he grabbed my
11          phone and throw away my phone and he pushed me on the
12          floor.       And then he talked to someone on the -- there is
13          an SUV in the middle of the street.                         He asked the guy --
14          he tells the guy, "She had no money."                          So the guy just
15          tells him to go to the car -- to the van.                             So when he
16          goes back to the van, then I chase after him and want to
17          get the key back.
18               Q.    So when the guy who took the key was talking to
19          the other person in the second van -- in the other van,
20          did he go over, walk over, run over to that van?
21               A.    He was between my van and his SUV, in the middle.
22          He is speaking loud and saying, "She had no money.                                   What
23          should I do?"
24               Q.    And the person in the second van, what did he
25          say?

                                                                                                     26

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1                A.    "Just grab her key and go.                    Take her van and go."
2                Q.    And so what did the person who had taken your key
3           do after the person in the second van told him to go?
4                A.    He went back to the van and opened the driver's
5           side.      I followed him and I tried to get my key back.                                 I
6           fight with him and tried to get the key back.                                So I only
7           got the chain and I didn't get the key, so he was able
8           to start the van and take off.
9                Q.    So when you started grabbing the chain to take
10          the keys back, is that when he also knocked your phone
11          out of your hand?
12               A.    No.     No.      No.     No.
13               Q.    So if you would, then, just describe for us
14          again.       He gets in the van in the passenger seat, he
15          turns on -- accidentally turns on --
16               A.    Driver's side.
17               Q.    The driver's seat.               I'm sorry.         Yes.      The man who
18          took the key gets into the driver's seat, he turns on
19          the alarm to your van, you come over to the driver's
20          side of the van.             He then gets out of the van, right?
21               A.    Yes.      Yes.      Yes.
22               Q.    And then is that when he knocked the phone out of
23          your hand?
24               A.    He grabbed my phone.                He grabbed my phone out of
25          my hand and he throw it on the floor.

                                                                                                     27

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1                Q.    So you were going to call 911, and he took your
2           phone out of your hand and threw it?
3                A.    Yes.      Yes.
4                Q.    And then is that when he was asking the person in
5           the second van what should he do and that you didn't
6           have any money?
7                A.    Right.       Right.
8                Q.    Is that also when he pushed you to the ground?
9                A.    Yes.      He grabbed my phone and then I tried to
10          fight with him and he pushed me, you know, on the
11          floor -- I mean on the -- yeah, on the floor.
12               Q.    When you were fighting with him and he pushed you
13          to the floor, did he kick you at that time?
14               A.    He did not kick me, no.
15               Q.    Did he punch you?
16               A.    He did not punch me, no.
17               Q.    Did he push you once, or was it a bunch of
18          pushes?
19               A.    I don't remember exactly the gesture, but he did
20          push me so I fall on the floor.                       I injured my knee.
21               Q.    I was going to ask you.                  Thank you.          When you
22          fell to the ground you hit your knee; is that right?
23               A.    Yeah.       I -- yeah.
24               Q.    You scraped it, right?
25               A.    Yeah.

                                                                                                     28

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1                Q.    That other person in the second van tells him to
2           take the keys and take the van, right?
3                A.    Right.
4                Q.    Where are you at this point in time when the
5           person from the second van tells him to take the van and
6           take the keys?            Are you still on the ground or are you
7           standing up?
8                A.    I stand up.          I stand up.
9                Q.    So you're standing up, and the person with your
10          keys then gets back into the driver's seat of the van?
11               A.    Yes.
12               Q.    When did the person from the store come out and
13          see what was going on when you told them to go call the
14          police?
15               A.    I don't see they come out.                    That I did not
16          notice, so I don't notice that.                       All I noticed is I was
17          alone by myself, you know, fighting with the guy, yes.
18               Q.    Okay.       Did the person who took your key ever show
19          you any weapons?
20               A.    I don't notice.
21               Q.    So you don't recall, you don't have a memory of
22          seeing, for example, a gun or a knife?
23               A.    I don't notice.             I don't see it, no.
24               Q.    Okay.       You didn't see a knife or a gun, right?
25               A.    No.

                                                                                                     30

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                           DEPOSITION OF POLLY CHOW - VIDEOCONFERENCE



 1                 STATE OF CALIFORNIA )
                                       )
 2                 COUNTY OF FRESNO    )

 3

 4                        I, LILIANA RODRIGUEZ, Certified Shorthand Reporter,

 5                 in and for the State of California, do hereby certify:

 6                        That the foregoing proceedings were taken before me

 7                 remotely at the time and place herein set forth; that

 8                 any witnesses in the foregoing proceedings, prior to

 9                 testifying, were duly sworn; that a record of the

10                 proceedings was made by me using machine shorthand which

11                 was thereafter transcribed under my direction; that the

12                 foregoing is a true record of the testimony given.

13                        Pursuant to Federal Rule 30(e), transcript review

14                 was not requested.

15                        I further certify that I am neither financially

16                 interested in the action, nor a relative or employee of

17                 any attorney or party to this action.

18                        IN WITNESS WHEREOF, I have this date subscribed my

19                 name.

20

21                 DATED:      01/10/2021

22                 Fresno, California

23

24                                __/s/Liliana Rodriguez____________
                                   LILIANA RODRIGUEZ, CSR No. 13783
25

                                                                                                     55

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